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   Exhibit 3 to Plaintiff’s Second
Supplemental Application and Motion
   for Attorneys’ Fees, Costs, and
 Expenses under the Equal Access to
             Justice Act
Second Supplemental Declaration of
          James Bopp, Jr.
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 True the Vote, Inc.;
                                     Plaintiff,
     v.                                           Civil Case No. 1:13-cv-000734-RBW

 Internal Revenue Service, et al.;                Second Supplemental Declaration of James
                               Defendants.        Bopp, Jr. in Support of Plaintiff’s Second
                                                  Supplemental Application and Motion for
                                                  Attorneys’ Fees, Costs, and Expenses Under
                                                  the Equal Access to Justice Act

                      Second Supplemental Declaration of James Bopp, Jr.

           I, James Bopp, Jr., make the following declaration pursuant to 28 U.S.C. § 1746:

    1. I am the owner of THE BOPP LAW FIRM, PC (“BLF”). I and my firm have represented the

Plaintiff as lead counsel in this action from late February 2017 through the present.

    2. I reiterate the facts of my prior declarations made in support of Plaintiff’s Application and

Motion for Attorneys’ Fees, Costs, and Expenses Under the Equal Access to Justice Act (ECF

No. 151) (“Application”), (Declaration of James Bopp, Jr., ECF No. 151-1)

(“Bopp Declaration”); Plaintiff’s Supplemental Application and Motion for Attorneys’ Fees,

Costs, and Expenses Under the Equal Access to Justice Act (ECF No. 157) (“Supplemental

Application”), (Declaration of James Bopp, Jr., ECF No. 157-2) (“Bopp Supplemental

Declaration”); and Plaintiff’s Notice of Compliance with Court Order (ECF No. 165)

(“Notice”), (Declaration of James Bopp, Jr. ECF No. 165-10) (“Notice Declaration”) with

respect to experience, rates, billing practices, and other applicable statements and incorporate

them herein by reference to the following discussion of fees and expenses.

    3. Prior to filing this Plaintiff’s Second Supplemental Application and Motion for Attorneys’

Second Supp. Decl. of James Bopp, Jr.
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Fees, Costs, and Expenses Under the Equal Access to Justice Act (“Second Supplemental

Application”), the total fees, costs, and expenses sought for the successful prosecution of claims

and for preparing and supporting the Application and Supplemental Application in the above-

captioned matter was $1,982,109.56, valued at the LSI Matrix rates.

    4. The previous total of $1,982,109.56, valued at the LSI Matrix rates, reflects:

    •    $1,933,888.06 in attorneys’ and paraprofessional fees, sought in the Application;

    •    ($54,730.20) as an adjustment to attorney and paraprofessional fees, costs, and expenses

         from TTV’s Reply (ECF No. 156) (“Reply”). In the Reply, additional reductions were

         made to Foley’s and PILF’s billing records for inadvertent charges for unsuccessful

         claims, media relations charges, fundraising, or other non-legal work (“Reply

         Reductions”). See Reply, ECF No. 156 at 22-24. These Reply reductions were

         incorporated in the Adjusted Hours as line-item reductions in Foley’s Billing Records,

         subtotaled by person, attached as Exhibit 20 to Pl.’s Memo. Supp., ECF No. 165-1. The

         Reply Reductions for electronic research, see Rely at 24, are now incorporated as line

         items on PILF and Foley’s combined costs and expenses, attached as Exhibit 22 to Pl.’s

         Memo. Supp. Individual line-item reductions do not appear in PILF’s billing records

         subtotaled by person, Exhibit 19 to Pl.’s Memo. Supp., but remain identified by page

         number reference in the Reply at 22-24 and appear in aggregate on page two of the

         Consolidated Billing Records, attached as Ex. 21 to Pl.’s Memo. Supp.;

    •    $103,049.20 in attorneys’ and paraprofessional fees sought in the Supplemental

         Application;

    •    ($97.50) as an adjustment to BLF billing records in the Notice which removed a charge


Second Supp. Decl. of James Bopp, Jr.          -2-
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         for paraprofessional Matthew Michaloski.

    5. My firm has incurred fees, costs, and expenses totaling $39,253.20, valued at the LSI

Matrix rates, in preparing and filing the Notice,.

    6. A true and correct transcription of the time sheets and expense invoices showing charged

time and expenses is attached to Plaintiff’s Second Supplemental Application.

    7. The total fees and expenses, valued at the LSI Matrix rates, now sought by TTV for the

successful prosecution of claims and for preparing and supporting the Application, the

Supplemental Application, the Notice, and this Second Supplemental Application in the above-

captioned matter is $2,021,362.76; This total also reflects the adjustments made to the totals in

the Reply and the Notice, detailed in ¶ 4 above.

    I affirm under penalty of perjury that the foregoing is true and correct. Executed on this 14th

day of June, 2019


                                                                     James Bopp, Jr.




Second Supp. Decl. of James Bopp, Jr.            -3-
